                Case 20-10755-BLS             Doc 258       Filed 05/26/20        Page 1 of 13




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 11

RAVN AIR GROUP, INC. et al.,1                                 Case No. 20-10755 (BLS)

                 Debtors.                                     (Jointly Administered)

                                                              Hearing Date: May 27, 2020 at 11:00 a.m. (ET)

                                                              Re: Docket Nos. 114, 236, 242, 256




              DEBTORS’ REPLY IN SUPPORT OF THE DEBTORS’
             MOTION FOR AN ORDER (I) APPROVING PROPOSED
               DISCLOSURE STATEMENT AND THE FORM AND
               MANNER OF THE NOTICE OF THE DISCLOSURE
          STATEMENT HEARING, (II) ESTABLISHING SOLICITATION
       AND VOTING PROCEDURES, (III) SCHEDULING A CONFIRMATION
         HEARING, AND (IV) ESTABLISHING NOTICE AND OBJECTION
    PROCEDURES FOR CONFIRMATION OF DEBTORS’ PLAN OF LIQUIDATION

         The above-captioned affiliated debtors and debtors in possession (collectively, the

“Debtors”) hereby submit this reply (the “Reply”) in support of the Debtors’ Motion for An

Order (I) Approving Proposed Disclosure Statement and the Form and Manner of the Notice of

the Disclosure Statement Hearing, (II) Establishing Solicitation and Voting Procedures, (III)

Scheduling a Confirmation Hearing, and (IV) Establishing Notice and Objection Procedures for

Confirmation of Debtors’ Plan of Liquidation [Dkt. No. 114] (the “Motion”)2 and in response to

the objections (the “Objections”) filed by the Official Committee of Unsecured Creditors



1
         The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification
number are as follows: Ravn Air Group, Inc. (3047), Ravn Air Group Holdings, LLC (5356), JJM, Inc. (4858),
HoTH, Inc. (9957), Peninsula Aviation Services, Inc. (6859), Corvus Airlines, Inc. (7666), Frontier Flying Service,
Inc. (8091), and Hageland Aviation Services, Inc. (2754). The notice address for all of the Debtors is 4700 Old
International Airport Road, Anchorage, AK 99502.
2
         Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Motion.

                                                    1
146484.01601/123317687v.2
               Case 20-10755-BLS       Doc 258     Filed 05/26/20    Page 2 of 13




appointed in these Chapter 11 Cases (the “Committee”) [Dkt. No. 242] and the United States (the

“US”) [Dkt. No. 236]. For the reasons discussed below, and in light of the revisions made by the

Debtors to the [Proposed] Chapter 11 Plan of Liquidation of Ravn Air Group, Inc. and its

Affiliated Debtors (the “Plan”) and the proposed disclosure statement thereto (the “Disclosure

Statement”), both of which revised versions are being filed contemporaneously herewith, the

Debtors respectfully request that the Court overrule the Objections and grant the Motion.

                                PRELIMINARY STATEMENT

        1.      The Court, in approving the DIP Motion, already found the Plan Milestones under

the DIP Facility, which necessitated the filing and solicitation of the Plan at this time,

appropriate under the circumstances. The Debtors maintain, as they have from the beginning of

these Chapter 11 Cases, that complying with the terms of the DIP Facility, adhering to the Plan

Milestones, and pursuing the Plan is in the best interests of the Debtors’ creditors and estates.

Among other things, pursuant to and with the benefit of the DIP Facility: (a) the Debtors have

been able to pay their pre- and post-petition employee obligations, (b) the Plan provides for

payment of all administrative obligations and priority claims, as well as the creation of a

Creditors’ Fund for general unsecured creditors, and (c) the Debtors have been given precious

time to pursue funding opportunities, including CARES Act grants and loans, and to create

conditions that might allow for the Debtors’ continued operations.

        2.      Since the filing of the original Plan and Disclosure Statement, there have been a

number of developments, which are described in the revised version of the Disclosure Statement.

First, the Debtors received conditional approval from the United States Department of Treasury

to move forward with its applications for funding through the Payroll Support Program under the

CARES Act. Second, the Debtors filed the Debtors’ Motion for Orders (I)(A) Authorizing and


                                            2
146484.01601/123317687v.2
               Case 20-10755-BLS        Doc 258      Filed 05/26/20    Page 3 of 13




Approving the Bidding Procedures, (B) Approving Procedures Related to the Assumption of

Certain Executory Contracts and Unexpired Leases; (C) Approving the Notice Procedures, (D)

Authorizing Entry Into One or More Stalking Horse Agreements, and (E) Setting a Date for the

Sale Hearing; and (II) Authorizing and Approving (A) the Sale of Certain Assets Free and Clear

of All Liens, Claims, Encumbrances and Interests, (B) the Assumption and Assignment of Certain

Contracts, and (C) Payment of Bid Protections, If Applicable [Dkt. No. 197] (the “Bidding

Procedures Motion”). By the Bidding Procedures Motion, the Debtors propose a process by

which they will offer, among other things, the opportunity to sell all or substantially all of their

assets as a going concern under a timeline that conforms with the Plan Milestones.

        3.      Third, the DIP Lenders (who also represent the large majority of the Prepetition

Secured Creditors) agreed that the Creditors’ Fund under the Plan would hold $250,000 and that

holders of Class 1 claims (Prepetition Secured Creditor) will be deemed to waive their unsecured

deficiency claims under the Plan for purposes of participating in the Creditors’ Fund established

for holders of Class 4 claims (General Unsecured).

        4.      The two Objections received to the Disclosure Statement are very different in

their nature. The Committee’s Objection seeks various disclosures to which it and all creditors

are entitled and which have been largely if not completely addressed in the revised Disclosure

Statement. The thrust of the Committee’s Objection, however, continues the theme sounded by

the Committee at the outset: It argues that (i) the Debtors should be sold as a going concern and

(ii) if the Debtors’ funding and concomitant “runway” will not permit for a more comprehensive

sale process, the Plan cannot be confirmed. The implications of these assertions are disputed, of

course; more important, however, they are confirmation issues that should be addressed at the

confirmation hearing, not at a hearing on the adequacy of the Disclosure Statement.



                                             3
146484.01601/123317687v.2
               Case 20-10755-BLS       Doc 258     Filed 05/26/20     Page 4 of 13




        5.      By contrast, the US Objection is focused on narrow questions and concerns,

primarily about the scope of the proposed releases and ambiguities contained in the prior draft of

the Plan. As indicated therein, the US attempted to engage with the Debtors prior to its deadline

to object, but the Debtors were not able to respond prior to the objection deadline. See US

Objection, ⁋ 4. The Debtors believe that the issues raised by the US Objection are substantially

addressed in the revised form of Plan filed herewith. To the extent that they are not, the Debtors

submit that those issues should also be addressed at confirmation.

        6.      No objections have been received to the procedural elements of the Motion.

                                         ARGUMENT

        7.      A hearing on a disclosure statement is intended to assure that it has “adequate

information” to allow a hypothetical investor “typical of holders of claims … of the relevant

class” to make an informed judgment about the plan. 11 U.S.C. §1125(a), (b). Generally,

confirmation objections are not addressed in connection with the hearing on the adequacy of a

disclosure statement pursuant to section 1125(b). In re American Capital Equip., LLC, 688 F.3d

145, 153-54 (3d Cir. 2012).

        8.      As the Objections indicate, there are circumstances in which courts have declined

to approve disclosure statements on the basis that a plan is “patently unconfirmable.” Cf.

American Capital Equip., 688 F.3d at 154-55. Generally, “[a] plan is patently unconfirmable

where (1) confirmation defects cannot be overcome by creditor voting results and (2) those

defects concern matters upon which all material facts are not in dispute or have been fully

developed at the disclosure statement hearing.” Id. (quotations omitted).




                                            4
146484.01601/123317687v.2
                Case 20-10755-BLS              Doc 258        Filed 05/26/20         Page 5 of 13




         9.       The Plan, as revised, is manifestly confirmable. Even if that is disputed, however,

none of the issues raised should be addressed in the context of approval of the Disclosure

Statement.

The Committee Objection

         10.      As an initial matter, the Committee’s repeated depictions of the Plan as designed

solely for the benefit of the Debtors’ secured lenders and therefore unconfirmable are wrong.3

The Committee ignores the fact that the Plan (a) provides for payment in full of all Allowed

Administrative Claims and Priority Claims, (b) creates a Creditors’ Fund for the benefit of

general unsecured creditors, and (c) allows for the Debtors to pursue a sale of all or substantially

all of their Assets in connection with confirmation. None of those outcomes would have been

possible without the DIP Facility and the Plan. The DIP Facility also enabled the Debtors to pay

$6.5 million in prepetition employee obligations that the Debtors would not otherwise have been

able to pay, as well as give a short but meaningful runway for the Debtors to pursue a sale as a

going concern. That runway, which the Debtors would not have had absent the commencement

of these Chapter 11 Cases, allowed the Debtors to continue discussions with representatives of

the Department of Treasury, resulting in conditional approval to move forward with their Payroll

Support Program grant applications – which is a linchpin to any opportunity the Debtors may

have to sell their Assets as a going concern.




3
           Indeed, there are various assertions and insinuations contained in the Committee Objection that do not go to
issues presented by the Motion and, as a result, are not substantively addressed here. Were it necessary or
appropriate, the Debtors would discuss the propriety of doing “ordinary course” short term subleases of unused
facilities to allow continuing access to the local communities (Committee Obj., ⁋16); the rejection of hangaring
facilities for aircraft that had been previously rejected (id.); or the Debtors’ responsiveness to Committee
information requests (Committee Obj., ⁋18). Other issues (e.g., bid procedures and sage-popovich) will be
addressed by the Debtors in independent filings. The Debtors’ focus on issues germane to section 1125 is not
intended to be and is not a waiver of the Debtors’ right to respond to the Committee’s assertions in an appropriate
procedural setting.

                                                      5
146484.01601/123317687v.2
                Case 20-10755-BLS              Doc 258        Filed 05/26/20         Page 6 of 13




         11.      As to the confirmability of the Plan, the Committee raises three core objections:

(a) section 1129(a)(1), whether the plan “complies with the applicable provisions” of Title 11;

(b) section 1129(a)(3), “good faith”, and (c) section 1129(a)(7), the “best interests” test.

Committee Objection, ⁋⁋ 1, 32. None are necessary to resolve at a disclosure statement hearing.

         12.      The Committee Objection does not materially discuss section 1129(a)(1) or

section 1129(a)(3) or explain why the Plan fails to meet these confirmation standards. While the

Committee may argue that neither of these standards are met by the Debtors, the Objection’s

focus on the Debtors’ sale process and its alleged shortcomings do not create “patent”

confirmation issues that warrant consideration at a disclosure statement hearing.

         13.      The Debtors did not initially include in their draft disclosure statement a

liquidation analysis demonstrating that the Debtors can satisfy the best interests test of section

1129(a)(7). The Debtors’ financial advisor has since completed its liquidation analysis, which is

attached to the revised form of disclosure statement submitted herewith.4 At a minimum, that

analysis presents a prima facie case as to why confirmation of the Plan – including not only a

dividend to general unsecured creditors undiluted by the deficiency claims of holders of

Prepetition Secured Creditor Claims and payment in full of priority and administrative claimants

– is superior to a liquidation in chapter 7, under which the Debtors would be administratively

insolvent and unsecured creditors would be entitled to no recovery. Should the Committee

disagree, its challenge should be addressed at an evidentiary hearing on the Plan.

         14.      The Committee raises various issues about releases and releasees. Certain of the

technical issues that also are raised in the US Objection are addressed in the section below.

More generally, the Committee asserts that the Disclosure Statement cannot be approved because

4
         That liquidation analysis is based on the appraisal of the liquidation value of the Debtors’ assets performed
before the Petition Date by the Debtors’ proposed liquidation advisor, sage-popovich, inc., which appraisal the
Debtors provided to the Committee’s advisors early in these Chapter 11 Cases.

                                                      6
146484.01601/123317687v.2
                Case 20-10755-BLS           Doc 258     Filed 05/26/20     Page 7 of 13




the value of the releases granted therein has not been provided in the Disclosure Statement. The

Debtors are not aware of any claims that have material value (and has so indicated in the revised

version of the Disclosure Statement at Section II.B.), but, like the Committee, their analysis is

continuing. Should the Debtors or the Committee identify the claims that the Debtors believe

have material value, the Plan has been revised to provide for Preserved Claims that may be

asserted against parties that would otherwise have been Released Parties.

        15.      The Disclosure Statement has been revised to address most of the Committee’s

remaining concerns about the adequacy of the information provided therein:

                 a.         A liquidation analysis is included. Disclosure Statement, Exhibit B.

                 b.         The best interests test discussion is expanded. Disclosure Statement, at

        VI.C.

                 c.         The grounds for substantive consolidation are more fully explained. See

        Disclosure Statement, at IV.B.

                 d.         The amount of the Creditors’ Fund, and expected recoveries to Class 4

        claimants (and all other claimants), are included. See Plan, “Creditors’ Fund” definition;

        Disclosure Statement, at I.A.2., I.A.3.

                 e.         A discussion of unencumbered assets is included; and the treatment of

        such assets is addressed in the liquidation analysis. See Disclosure Statement, at IV.B.

                 f.         A qualitative discussion of the Debtors’ sale efforts and the potential use

        of CARES Act funding in connection with those sale efforts is included. See Disclosure

        Statement, at III.H., III.I.

        16.      The Committee’s argument that the Liquidation Trust Agreement must be

included with the Disclosure Statement is unfounded. First, the Committee’s complaints about



                                                 7
146484.01601/123317687v.2
               Case 20-10755-BLS             Doc 258       Filed 05/26/20       Page 8 of 13




the lack of information around the Liquidation Trust and Liquidation Trust Agreement are, at

best, misinformed: the Committee’s assertion that “[r]ecovery to creditors will ultimately derive

from the proceeds obtained through the disposition and liquidation of the Debtors’ assets in the

Liquidation Trust,” Committee Objection, ¶ 23; see also id., ¶ 45, is simply wrong. The putative

beneficiaries of the Liquidation Trust are limited to the DIP Lenders and the holders of

prepetition secured claims.        Those parties have made no objection to the adequacy of the

Debtors’ disclosures. Recoveries under the Plan by the unsecured creditors represented by the

Committee are fixed in the Creditors’ Fund, which is funded on the Effective Date of the Plan

without regard to recoveries by the Liquidation Trust.

        17.      Second, even if they were relevant, the core provisions of the Liquidation Trust,

its operations and its governance, are all set forth in sufficient detail in the Plan and Disclosure

Statement. Finally, the actual form of Liquidation Trust Agreement will be filed with the Plan

Supplement and, as such, will permit affected parties – none of whom are general unsecured

creditors – to raise confirmation issues at the confirmation hearing.

        18.      The Debtors do not object to permitting the Committee to provide a

recommendation on the Plan but request an opportunity to review and comment on any material

before solicitation.5

The US Objection

        19.      The US raises a number of objections and requests for clarification. The Debtors

believe that the US’s concerns are largely addressed in the revised Plan and the revised




5
         On May 23, 2020, counsel for the Debtors advised counsel for the Committee that it did not anticipate
objecting to including a Committee recommendation with its solicitation materials but requested a draft of any
proposed communication in advance of the hearing on the Motion. Counsel for the Committee indicated that they
would provide such a draft, but as of the filing of this Reply, no such draft has been received.

                                                   8
146484.01601/123317687v.2
               Case 20-10755-BLS        Doc 258     Filed 05/26/20     Page 9 of 13




Disclosure Statement. To the extent that they are not, the Debtors address the US Objection on

the merits below.

        20.      First, the US notes that the Debtors should not receive a discharge, which the

Debtors concede.       US Objection, ⁋⁋ 6-7.     The Debtors were erroneously included in the

definition of “Released Parties” but have been removed, and the release language clarifies that

the Debtors are not seeking a release pursuant to section 11.11 of the Plan. As the US implicitly

acknowledges in its citation of Midway Gold, although the Debtors are not receiving a discharge,

it is entirely permissible to provide that assets transferred to the Liquidation Trust should be

insulated from claims that might otherwise be asserted against the Debtors. See In re Midway

Gold US, Inc., 575 B.R. 475, 515 (Bankr. D. Colo. 2017) (denying debtors a discharge but

approving the following plan language as permissible: “Claimants may not seek payment or

recourse against or otherwise be entitled to any Distribution from the Liquidating Trust Assets

except as expressly provided in this Plan and the Liquidating Trust Agreement.”); see also In re

Lambertson Truex, LLC, No. 09-10747, 2009 Bankr. LEXIS 4812, at *14 (Bankr. D. Del. July

27, 2009) (confirming plan of liquidation with the following language: “the Debtor and the

Estate shall be deemed to have transferred and/or assigned any and all of their assets as of the

Effective Date … to the beneficiaries of the Liquidation Trust free and clear of all Claims, Liens

and contractually imposed restrictions, except for the rights to distribution afforded to holders of

Claims under the Plan; and immediately thereafter, such assets shall be deemed transferred by

such beneficiaries to the Liquidation Trustee in trust.”). Section 3.09 of the Plan has been

revised for clarity and should address the concern expressed by the US that it could be used to

justify a broader discharge than was intended.




                                             9
146484.01601/123317687v.2
               Case 20-10755-BLS               Doc 258        Filed 05/26/20         Page 10 of 13




         21.      Second, the US Objection focuses on exculpation.                      US Objection, ⁋ 8.           Its

concerns are largely addressed in corrective and clarifying Plan revisions: (a) the Debtors qua

debtors have been removed from the definition of “Exculpated Parties”; (b) the definition of

“Related Persons” has been narrowed in scope, such that these persons are only released to the

extent that they are being exculpated as agents of otherwise Exculpated Parties (e.g., the

Committee’s attorneys are only being released in their capacity as Committee attorneys and not

to the extent of their independent dealings with the Debtors as individuals, if any); and (c)

section 11.12 has been slightly revised to delete “the Debtors” from the phrase “in connection

with, relating to, or arising out of the Debtors, the Chapter 11 Cases, ….” While the Debtors

believe that these revisions should resolve the US Objection entirely, the US may wish to press

questions regarding the propriety of exculpation for lenders or prepetition conduct.6 To the

extent that the US chooses to do so, the Debtors submit that these questions are confirmation

questions. See, e.g., In re W.R. Grace & Co., 446 B.R. 96, 132-33 (Bankr. D. Del. 2011)

(addressing exculpation issues in connection with plan confirmation); In re Wash Mut. Inc., 442

B.R. 314, 350-51 (Bankr. D. Del. 2011) (same); In re Indianapolis Downs, LLC, 486 B.R. 286,

306 (Bankr. D. Del. 2013) (same); In re Nassau Broadcasting Partners, L.P., 11-12934 (KG),

Docket No. 1000 (Bankr. D. Del. July 31, 2013) (same); In re Nortel Networks, Inc., 09-10138

(KG) Docket No. 17807 (Bankr. D. Del. Jan. 24, 2017) (same); In re EBH TopCo, LLC, 18-

11212 (BLS), Docket No. 765 (Bankr. D. Del. Feb. 13, 2019) (same).




6
          The Debtors are prepared to argue that (i) exculpation of lenders goes hand in glove with releases, and
should be granted if releases may be granted, and (ii) pre-petition conduct that is limited to case-related issues and
events can and should be included in the exculpation provision to foreclose arguments that otherwise exculpated
conduct during the cases might give rise to liability if preliminary assistance was provided pre-petition. Neither of
these issues need be addressed at the hearing on the Motion, however, and should be addressed at the confirmation
hearing.

                                                      10
146484.01601/123317687v.2
              Case 20-10755-BLS            Doc 258     Filed 05/26/20     Page 11 of 13




        22.     Third, the US Objection seeks confirmation that governmental penalties will not

be subordinated, consistent with Supreme Court authority. US Objection, ⁋ 9. That clarification

is now contained in the revised definition of “Non-Compensatory Penalty Claims.” The Debtors

reserve the right to subordinate non-governmental claims otherwise fitting the definition and will

address any challenge thereto at confirmation.

        23.     Fourth, the US Objection seeks clarification that no assumption of an executory

contract or lease shall be “deemed” while a dispute is pending. US Objection, ⁋ 10. The revised

language of section 6.01(b) of the Plan does away with the notion of “deemed” assumption and

confirms instead that the Liquidation Trust shall have standing to act as successor to the Debtors

in any pending dispute.

        24.     Finally, the US Objection requests further disclosures about a number of matters

the US asserts are necessary to provide creditors with adequate information. US Objection, ⁋⁋

11-22. Many of these further disclosures are addressed above; the Debtors believe the changes

described herein obviate the need for further disclosures in the Disclosure Statement. The

remaining issues can be addressed summarily:

                a.          The definition of “Secured Claim” and treatment of such claims (section

        3.03 of the Plan) do not purport to add requirements to creditors asserting setoff rights.

        US Objection, ⁋ 15, 22. Rather, the Plan is clear that those claims will remain unaltered

        “notwithstanding substantive consolidation.” Plan, §3.03. The Debtors submit that no

        further disclosures are required but will further consult with the US on requested

        revisions.

                b.          The treatment of FAA air carrier operating certificates is not addressed in

        the Plan. US Objection, ⁋ 18. The Debtors understand that the US takes the position that



                                                 11
146484.01601/123317687v.2
              Case 20-10755-BLS             Doc 258     Filed 05/26/20     Page 12 of 13




        such certificates are not transferrable. In anticipation of that possibility, section 5.03(c)

        of the Plan provides for the treatment of assets that cannot be transferred. This possibility

        is further addressed in the Disclosure Statement, at IV.C.

                c.          The US Objection asks the Debtors to identify all circumstances in which

        the Debtors may waive “requisite government approvals” under section 9.01 of the Plan.

        US Objection, ⁋ 19. The Debtors have not identified any “specific transactions” that

        might be contemplated and whether otherwise requisite government approvals “might be

        waived.” Accordingly, while the Debtors are not averse to making fuller disclosures, no

        such disclosures are obvious or necessary.

                d.          The US Objection states that it is unclear whether the definition of

        “Allowed Claim” excludes an unliquidated claim even if a proof of claim has been filed.

        US Objection, ⁋ 20. The Debtors submit that the Plan is clear that an unliquidated claim

        is not an Allowed Claim, even if a proof of claim is filed, and no further disclosure is

        required.

                e.          The US Objection inquires about the availability of distributions if the Bar

        Date occurs after the Effective Date. US Objection, ⁋ 21. The term “Distribution Record

        Date” has been revised to address the US concern.

        WHEREFORE, the Debtors respectfully request the Court enter an order granting (i) the

relief requested in the Motion and (ii) such other relief as may be equitable and just.




                                                 12
146484.01601/123317687v.2
              Case 20-10755-BLS   Doc 258   Filed 05/26/20   Page 13 of 13




Dated: May 26, 2020                         BLANK ROME LLP
       Wilmington, Delaware
                                            /s/ Victoria Guilfoyle
                                            Victoria A. Guilfoyle (No. 5183)
                                            Stanley B. Tarr (No. 5535)
                                            Jose F. Bibiloni (No. 6261)
                                            1201 N. Market Street, Suite 800
                                            Wilmington, Delaware 19801
                                            Telephone: (302) 425-6400
                                            Facsimile: (302) 425-6464
                                            Email: guilfoyle@blankrome.com
                                                    tarr@blankrome.com
                                                    jbibiloni@blankrome.com
                                                 -and-
                                            KELLER BENVENUTTI KIM LLP
                                            Tobias S. Keller (pro hac vice)
                                            Jane Kim (pro hac vice)
                                            Thomas B. Rupp (pro hac vice)
                                            650 California Street, Suite 1900
                                            San Francisco, California 94108
                                            Telephone: (415) 496-6723
                                            Facsimile: (650) 636-9251
                                            Email: tkeller@kbkllp.com
                                                   jkim@kbkllp.com
                                                   trupp@kbkllp.com

                                            Attorneys for Debtors
                                            and Debtors-in-Possession




                                      13
146484.01601/123317687v.2
